                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                          NORTHERN DIVISION -- KNOXVILLE

Christy Somers,                             )
                                            )
        Plaintiff,                          )
                                            )
        v.                                  )       No.   3:22-cv-152
                                            )
Franklin Collection Service, Inc., a        )
Mississippi corporation,                    )
                                            )
        Defendant.                          )       Jury Demanded

                                         COMPLAINT

        Plaintiff, Christy Somers, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant s debt

collection actions violated the FDCPA, and to recover damages, and alleges:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and c) Defendant transacts business here.

                                           PARTIES

        3.      Plaintiff, Christy Somers ("Somers"), is a citizen of the State of

Tennessee, residing in the Eastern District of Tennessee, from whom Defendant

attempted to collect a defaulted consumer debt, which she allegedly owed to AT&T.

        4.      Defendant, Franklin Collection Service, Inc. Franklin ), is a Mississippi

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect, defaulted




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consumer debts. Defendant Franklin operates a defaulted debt collection business and

attempts to collect debts from consumers in many states, including consumers in the

State of Tennessee. In fact, Defendant Franklin was acting as a debt collector as to the

defaulted consumer debt it attempted to collect from Plaintiff.

       5.     Defendant Franklin is authorized to conduct business in Tennessee, and

maintains a registered agent here, see, record from the Tennessee Secretary of State,

attached as Exhibit A. In fact, Defendant conducts extensive business in Tennessee.

                               FACTUAL ALLEGATIONS

       6.     On December 18, 2019, Ms. Somers and her husband filed a Chapter 7

bankruptcy petition in a matter styled In re: Somers, E.D.Tenn.Bankr. No. 3:19-bk-

33981-SHB. Among the debts listed on Schedule E/F of Ms. Somers

Petition was a debt that she allegedly owed to AT&T, see, excerpt of Schedule E/F,

attached as Exhibit B.

       7.     Accordingly, on December 20, 2019, AT&T was sent notice of the

bankruptcy via electronic transmission by the Bankruptcy Noticing Center, see, the

Certificate of Service to the Notice of Chapter 7 Bankruptcy Case      No Proof of Claim

Deadline, which is attached as Exhibit C.

       8.     Moreover, on May 4, 2020, Ms. Somers received a discharge of her debts,

and on May 5, 2020, AT&T was sent notice of the discharge via electronic transmission

by the Bankruptcy Noticing Center, see, the Certificate of Service to the Order of

Discharge, attached as Exhibit D.

       9.                  nkruptcy is also a matter of public record, is on her credit

reports, is in the files of the creditor, and is readily discoverable by any competent debt



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       10.    Nonetheless, Defendant sent Ms. Somers a collection letter, dated July

28, 2021, demanding payment of AT&T debt she allegedly owed prior to the bankruptcy.

A copy of this collection letter is attached as Exhibit E.

       11.    In enacting the FDCPA, Congress expressly set forth that the statute was



       There is abundant evidence of the use of abusive, deceptive, and unfair debt
       collection practices by many debt collectors. Abusive debt collection practices
       contribute to the number of personal bankruptcies, to marital instability, to the
       loss of jobs, and to invasions of individual privacy.

See, 15 U.S.C. §1692(a)(Abusive Practices)(emphasis added).

       12.    To achieve those ends, §1692c of the FDCPA limits the manner in which

debt collectors may communicate with consumers; specifically, § 1692c(c) of the

FDCPA prohibits a debt collector from communicating with a consumer and demanding

payment of a debt that a consumer has refused to pay, see, 15 U.S.C. § 1692(c)(c)

       13.    Moreover, to eliminate deceptive collection practices, § 1692e of the

FDCPA prohibits the use of false and/or deceptive or misleading statements in

connection with the collection of a debt, see, 15 U.S.C. § 1692e.

       14.    Ms. Somers had been informed by counsel and believed that she had the

right to refuse to pay this debt, to demand that collection communications cease, and a

right to privacy. Defendant s continued collection communications, after she had filed for

bankruptcy, made Plaintiff believe that her exercise of her rights, through filing

bankruptcy may have been futile and that she did not have the right to a fresh start that

Congress had granted her under the Bankruptcy Code, as well as her rights under the

FDCPA. Defendant s collection actions resulted in a direct invasion of Ms. Somers


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legally-protected right to be left alone, her right to privacy, and her right to collection

communications that were not false, deceptive or misleading         rights granted to

consumers under the FDCPA.

       15.    Defendant s actions caused Plaintiff to question whether her counsel had

done their job, whether this debt was actually discharged in her bankruptcy, and

whether she had the right to be left alone     all of which upset, emotionally distressed,

outraged, and alarmed Ms. Somers.

       16.    All of Defendant s collection actions at issue in this matter occurred within

one year of the date of this Complaint.

       17.

                                             see, Harvey v. Great Seneca Fin.Corp., 453

F.3d 324, 328 (6th Cir. 2006); Cagayat v. United Collection Bureau, Inc., 952 F.3d 749,

757 (6th Cir. 2020).

                                      COUNT I
                       Violation Of § 1692e Of The FDCPA --
                   Demanding Payment Of A Debt That Is Not Owed

       18.    Plaintiff adopts and realleges ¶¶ 1-17.

       19.    Section 1692e of the FDCPA prohibits a debt collector from using any

false and/or any deceptive or misleading representation or means in connection with the

collection of a debt, including, but not limited to, the false representation of the

character, amount or legal status of any debt, see, 15 U.S.C. § 1692e(2)(A).

       20.    Demanding payment of a debt that is no longer owed, due to a

bankruptcy, is false and/or deceptive or misleading, in violation of § 1692e of the

FDCPA, see, Randolph v. IMBS, Inc., 368 F.3d 726, 728-730 (7th Cir. 2004).



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      21.    Defendant s violation of § 1692e of the FDCPA renders it liable for actual

                                                              , see, 15 U.S.C. § 1692k.

                                      COUNT II
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

      22.    Plaintiff adopts and realleges ¶¶ 1-17.

      23.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay, see, 15 U.S.C. § 1692c(c).

      24.    Here, the bankruptcy and the notices issued by that court (Exhibits C and

D), provided notice to cease communications and cease collections. By communicating

directly with Ms. Somers regarding this debt and demanding payment (Exhibit E),

despite her bankruptcy, Defendant violated § 1692c(c) of the FDCPA.

      25.    Defendant s violation of § 1692c(c) of the FDCPA render it liable for actual

an                                                            , see, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Christy Somers, prays that this Court:

      1.     Find that Defendant s form collection letter violates the FDCPA;

      2.     Enter judgment in favor of Plaintiff, and against Defendant, for actual and

statutory damages,                                                  ed by § 1692k(a) of

the FDCPA; and,

      3.     Grant such further relief as deemed just.




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                                      JURY DEMAND

       Plaintiff, Christy Somers, demands trial by jury.

                                                     Christy Somers,

                                                     By: s/ David J. Philipps_____________


Dated: April 27, 2022

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